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 1                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
 2                                    AT DAYTON

 3      ___________________________________
                                           )
 4      UNITED STATES OF AMERICA,          )
                                           )
 5                          Plaintiff,     ) CASE NO. 3:18-cr-186-TMR
                                           )
 6                     -vs-                )
                                           )
 7      BRIAN HIGGINS,                     ) MOTION FOR NEW
                                           ) COUNSEL
 8                          Defendant.     )
        ___________________________________)
 9

10                      TRANSCRIPT OF TELEPHONIC PROCEEDINGS
                       BEFORE THE HONORABLE THOMAS M. ROSE,
11                    UNITED STATES DISTRICT JUDGE, PRESIDING
                              MONDAY, March 30, 2020
12                                   DAYTON, OH

13
        APPEARANCES:
14
        For the Plaintiff:             BRENT TABACCHI, ESQ.
15                                     U.S. Attorney's Office
                                       200 W. Second Street
16                                     Room 602
                                       Dayton, OH 45402
17

18      For the Defendant:             ANTHONY R. CICERO, ESQ.
                                       Attorney at Law
19                                     500 East Fifth Street
                                       Dayton, OH 45402
20

21      Also Present:     Tamara Sack, Esq.

22           Proceedings recorded by mechanical stenography,
        transcript produced by computer.
23
                            Mary A. Schweinhagen, RDR, CRR
24                         Federal Official Court Reporter
                                200 West Second Street
25                                 Dayton, OH 45402
                                    *** *** *** **

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09:40:16    1            P-R-O-C-E-E-D-I-N-G-S                                    10:38 A.M.

09:40:16    2                  THE COURT:     Counsel, good morning.

09:40:22    3                  MS. SACK:     Good morning, Judge.

09:40:25    4                  THE COURT:     Mr. Higgins, good morning.

09:40:27    5                  THE DEFENDANT:      Good morning, sir.

09:40:30    6                  THE COURT:     We are here pursuant to a motion to

09:40:33    7      withdraw as counsel in the United States of America versus

09:40:37    8      Brian Higgins, Case Number 3-18-cr-186.

09:40:46    9            I guess since we are doing this by phone, I would first

09:40:48   10      ask if everyone would enter their appearance, please.

09:40:53   11                  MR. TABACCHI:      Good morning, Your Honor.         Brent

09:40:56   12      Tabacchi on behalf of the United States.

09:40:57   13                  MR. CICERO:     Tony Cicero for Brian Higgins.

09:41:03   14                  THE COURT:     And we also have --

09:41:05   15                  MS. SACK:     Your Honor --

09:41:06   16                  THE COURT:     Go ahead.

09:41:07   17                  MS. SACK:     Tamara Sack is present.

09:41:09   18                  THE COURT:     And, Mr. Higgins, you are here too,

09:41:12   19      right?

09:41:12   20                  THE DEFENDANT:      Yes, Your Honor, Brian Higgins.

09:41:15   21                  THE COURT:     As I indicated, we're here for the

09:41:18   22      purposes of dealing or entertaining the motion to withdraw as

09:41:26   23      counsel filed by Mr. Cicero.

09:41:29   24            Mr. Cicero, do you want to in any way, shape, or form

09:41:33   25      supplement that?


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09:41:34    1                  MR. CICERO:     If the Court would like me to I can.

09:41:36    2                  THE COURT:     Well, just maybe a brief supplement.

09:41:41    3                  MR. CICERO:     Your Honor, Brian Higgins is a close

09:41:45    4      friend of mine of 10, 15 years now.           I thought I could

09:41:51    5      separate the friendship and the attorney relationship, but

09:41:57    6      that's proving to be too difficult to do.            Brian and I have

09:42:02    7      talked about it at length, and he's in agreement with this

09:42:06    8      request.

09:42:06    9                  THE COURT:     Mr. Higgins, is that correct?

09:42:10   10                  THE DEFENDANT:      That is correct, Your Honor.

09:42:11   11                  THE COURT:     It's also my understanding -- and,

09:42:17   12      Mr. Cicero, I guess this is again -- I am addressing you.

09:42:20   13      It's also my understanding that although you had initially,

09:42:28   14      I'm assuming, representing Mr. Higgins, one of the reasons is

09:42:33   15      the fact of your close relationship with him, that if the

09:42:36   16      Court grants the motion to withdraw, it's your belief that he

09:42:40   17      most likely would qualify for CJA representation?

09:42:48   18                  MR. CICERO:     That's correct, Judge.

09:42:49   19                  THE COURT:     Mr. Higgins, CJA representation

09:42:55   20      basically requires, for the Court to find that an individual

09:42:59   21      qualifies for that representation, must submit to the Court an

09:43:05   22      affidavit indicating basically their, well, for lack of a

09:43:10   23      better way of saying it, financial conditions.              Once the Court

09:43:14   24      sees that affidavit, the Court can, if it finds, appoint

09:43:19   25      counsel under the CJA act.         You understand?


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09:43:24    1                  THE DEFENDANT:      Yes, Your Honor.

09:43:25    2                  THE COURT:     So before I can -- if I allow Mr. Cicero

09:43:30    3      to withdraw, before I can appoint, if you're not planning to

09:43:36    4      retain counsel and if you believe that you do or would after

09:43:40    5      your discussions, I'm assuming with Mr. Cicero, with regard to

09:43:44    6      this that you believe you would qualify for representation, I

09:43:48    7      would need to get as quickly as possible an affidavit from you

09:43:54    8      so that we can make that determination.            Do you understand?

09:43:57    9                  THE DEFENDANT:      Yes, Your Honor, I do understand.

09:44:00   10                  THE COURT:     And is that what you wish to do?

09:44:01   11                  THE DEFENDANT:      Yes, Your Honor.       I believe

09:44:06   12      Mr. Cicero has an affidavit that he's going to forward over to

09:44:10   13      me.

09:44:10   14                  THE COURT:     Yes, we need to get that done as quickly

09:44:12   15      as possible because, obviously, the Court is unable to take

09:44:16   16      any action until I get that document.           Do you understand?

09:44:20   17                  THE DEFENDANT:      Yes, Your Honor.

09:44:21   18                  THE COURT:     Now, we also have with us here this

09:44:26   19      morning Ms. Sack who has --

09:44:31   20                  MS. SACK:     Yes, Your Honor.

09:44:31   21                  THE COURT:     It's my understandings, Ms. Sack, you've

09:44:34   22      heard the discussion here that we have had on the record.               If

09:44:38   23      the Court allows Mr. Cicero to withdraw and if the Court finds

09:44:44   24      that Mr. Higgins does qualify under the CJA, you indicate that

09:44:52   25      you would be -- and you've come to the Court's assistance on


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09:44:57    1      numerous cases, very difficult cases on a number of cases --

09:45:02    2      and that you would be willing to take on the representation of

09:45:08    3      Mr. Higgins; is that correct?

09:45:10    4                  MS. SACK:     Yes, Your Honor.       And if I may?

09:45:13    5                  THE COURT:     Surely.

09:45:14    6                  MS. SACK:     Notwithstanding the fact that I've not --

09:45:16    7      there's not been a formal ruling on the withdrawal of counsel

09:45:21    8      and the appointment of CJA counsel, Mr. Higgins and I have

09:45:25    9      established contact, and we have discussed his case and we've

09:45:30   10      introduced ourselves to one another.

09:45:32   11                  THE COURT:     Great.

09:45:32   12                  MS. SACK:     So it would be my hope that in the event

09:45:39   13      that this does go through, that it would be, for lack of a

09:45:43   14      better word, a seamless transition.           Thank you.

09:45:46   15                  THE COURT:     The Court is hoping so too.          But the

09:45:50   16      Court does need to follow certain rules, and in order for me

09:45:56   17      to follow certain rules, I need things to rule on.

09:46:03   18            So I think, Mr. Cicero and Mr. Higgins, you understand

09:46:06   19      what the Court needs?

09:46:08   20                  MR. CICERO:     That's correct.

09:46:08   21                  THE DEFENDANT:      I'm clear.     Yes, Your Honor.

09:46:10   22                  THE COURT:     And it's been here indicated upon the

09:46:14   23      record that Ms. Sack is willing, able, and ready to take up

09:46:18   24      representation if the Court does grant the motion and approve

09:46:22   25      the CJA representation.


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09:46:27    1             So -- well, first, Mr. Tabacchi?

09:46:34    2                  MR. TABACCHI:      Yes, Your Honor.

09:46:34    3                  THE COURT:     Do you have anything you want to add?

09:46:36    4                  MR. TABACCHI:      Not at this time, Your Honor.             Thank

09:46:38    5      you.

09:46:39    6                  THE COURT:     So here's what I'm going to do.              I'm

09:46:42    7      going to take the matter under consideration.              As quickly as I

09:46:49    8      receive the affidavit, which my understanding is going to be

09:46:51    9      forwarded immediately by Mr. Cicero to Mr. Higgins, Mr.

09:46:56   10      Higgins will fill it out, and I'm assuming it should be -- is

09:47:02   11      it to come back to you, Mr. Cicero?

09:47:05   12                  MR. CICERO:     I'll file it, Judge.

09:47:07   13                  THE COURT:     If you'll file it, that will get it to

09:47:09   14      us.    And then based upon that and assuming, making an

09:47:13   15      assumption here --

09:47:15   16                  MS. PENSKI:     Excuse me, Your Honor?

09:47:16   17                  THE COURT:     Yes.

09:47:19   18                  MS. PENSKI:     Excuse me, Judge.

09:47:22   19             Tony, if you could forward that directly to me because

09:47:23   20      that document should be placed under seal.             Once the defendant

09:47:27   21      gets it filled, forward it to me, and I will receipt it.

09:47:29   22                  MR. CICERO:     I will do that, Liz.

09:47:29   23                  THE COURT:     Thank you, Elizabeth.

09:47:31   24             The Court, although it doesn't like to pre-judge

09:47:34   25      anything, I am assuming that there won't be any problem in the


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09:47:37    1      affidavit nor the appointment of CJA counsel; so, therefore,

09:47:43    2      upon that receipt and upon approval, the Court will grant

09:47:50    3      Mr. Cicero's motion to withdraw and appoint Ms. Sack as

09:47:55    4      Mr. Higgins' representative.

09:47:57    5            So at this point in time I will be conditionally granting

09:48:02    6      Mr. Cicero's withdrawal and conditionally appointing Ms. Sack.

09:48:09    7      However, all of these things are conditioned upon the

09:48:12    8      successful filing and approval by the Court of the affidavit.

09:48:19    9            Any questions?

09:48:22   10                  MS. SACK:     No, Your Honor.      Thank you.

09:48:24   11                  MR. CICERO:     No, Your Honor.       Thanks.

09:48:25   12                  THE COURT:     Mr. Higgins, do you got any questions?

09:48:28   13                  THE DEFENDANT:      No, Your Honor.

09:48:28   14                  THE COURT:     I want to thank you all for making

09:48:33   15      yourselves available.       And I promise you as quickly as you get

09:48:37   16      your job done, I will do mine.          Thank you.     Have a good day.

09:48:44   17                  MS. SACK:     Thank you, Your Honor.

09:48:48   18            (Proceedings concluded at 10:47 a.m.)

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 1                              CERTIFICATE OF REPORTER

 2

 3                  I, Mary A. Schweinhagen, Federal Official Realtime

 4      Court Reporter, in and for the United States District Court

 5      for the Southern District of Ohio, do hereby certify that

 6      pursuant to Section 753, Title 28, United States Code that the

 7      foregoing is a true and correct transcript of the

 8      stenographically reported proceedings held in the

 9      above-entitled matter and that the transcript page format is

10      in conformance with the regulations of the Judicial Conference

11      of the United States.

12

13      s/Mary A. Schweinhagen

14      __________________________________ October 9, 2020

15      MARY A. SCHWEINHAGEN, RDR, CRR
        FEDERAL OFFICIAL COURT REPORTER
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